Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 1 of 20




              Exhibit
                H
     Kin: A decentralized ecosystem of digital services for daily life         Page 1 of 19
                Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 2 of 20




                                    Whitepaper    FAQ     About   Talk to Us       News

                    Terms of Use Agreement
                    Last updated: September 11, 2017
                    Welcome to the Kin.KIK.COM (“Kik”, “we,” “us” or “our”)
                    website (“Site”). The purpose of the Site is to determine
                    whether you are qualified to participate in our sale of Kin
                    Tokens (DEFINED IN SECTION 1 BELOW), and if so, to
                    enable your purchase of Kin Tokens. This Terms of Use
                    Agreement (“Agreement”) is important and affects your
                    legal rights, so please read it carefully. Note that Section
                    16 of this Agreement contains a mandatory arbitration
                    provision that requires the use of arbitration on an
                    individual basis and limits the remedies available to you
                    in the event of certain disputes.
                    By accessing or using the Site and/or purchasing Kin
                    Tokens, you agree to be bound by this Agreement and all
                    of the terms incorporated herein by reference. If you do
                    not agree to this Agreement, you may not access or use
                    the Site or purchase the Kin Tokens. This Agreement
                    governs your access and use of the Site and your
                    purchase of the Kin Tokens.
                    This Agreement does not alter in any way the terms or
                    conditions of any other agreement you may have with us
                    in respect of any products, services or otherwise. You
                    represent and warrant that you are participating in the Kin
                    Token sale in your individual capacity as the prospective
                    beneficial owner of the Kin Tokens and not as a
                    representative or agent of a third party or a third party
                    entity (i.e. non-natural person) and you acknowledge and
                    agree that Kik reserves the right to prohibit persons and
                    third party entities from participating in the Kin Token
                    sale if they are domiciled in a jurisdiction (domestic or
                    foreign) which prohibits and restricts such participation,
                    including but not limited to any sanctions program
                    administered by the Office of Foreign Assets Control
                    (“OFAC”) of the U.S. Department of Treasury.
                    The Site is not intended for use by anyone under the age
                    of 18. Kin Tokens may not be purchased through the Site
                    by anyone under the age of 18. By using the Site and/or
                    purchasing Kin Tokens through this Site, you represent
                    and warrant that you (a) are 18 years of age or older, (b)
                    purchasing the Kin Tokens in your individual capacity as
                    the beneficial owner thereof and not as a representative
FOIA Confidential Treatment Requested                                                         KIK000079
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                           9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life         Page 2 of 19
                Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 3 of 20


                    or agent of a third party or a third party entity (i.e., non-
                    natural person, (c) have not been previously suspended
                    or removed from the Site, or engaged in any activity that
                    could result in suspension or removal from the Site, (d)
                    have not previously registered on the Site and/or been
                    informed that your application to purchase Kin Tokens
                    was not approved, (e) do not have more than one
                    Account (defined in Section 4 below), and (f) have full
                    power and authority to enter into this Agreement and in
                    so doing will not violate any other agreement to which
                    you are a party. You acknowledge and agree that Kik
                    reserves the right to prohibit persons and third party
                    entities from participating in the Kin Token sale if they
                    are domiciled in a jurisdiction (domestic or foreign)
                    which prohibits or restricts such participation, including
                    but not limited to any sanctions program administered
                    by the U.S. Pursuant to that right, Kik hereby gives you
                    notice and you acknowledge and agree that the Kin
                    Tokens have not been qualified for distribution by
                    prospectus in Canada and may not be offered or sold in
                    Canada during the course of their distribution except
                    pursuant to a prospectus exemption, and accordingly by
                    purchasing the Kin Tokens you are deemed to represent
                    and warrant that (a) if you are located in Canada, you are
                    purchasing pursuant to a prospectus exemption or (b) if
                    you are located outside Canada, you are purchasing not
                    for the purpose of making an immediate resale to a
                    person you actually know to be located in Canada and,
                    for a period of 90 days after the date of their purchase by
                    you, you will not resell the Kin Tokens to a person you
                    actually know to be located in Canada nor through the
                    facilities of an exchange or market in Canada.
                    Kin reserves the right to change or modify this Agreement
                    at any time and in our sole discretion. If we make
                    changes to this Agreement, we will provide notice of such
                    changes, such as by sending an email notification,
                    providing notice through the Site or updating the “Last
                    Updated” date at the beginning of this Agreement. By
                    continuing to access or use the Site or purchase Kin
                    Tokens, you confirm your acceptance of the revised
                    Agreement and all of the terms incorporated therein by
                    reference. We encourage you to review the Agreement
                    frequently to ensure that you understand the terms and
                    conditions that apply when you access or use the Site or
                    purchase Kin Tokens. If you do not agree to the revised
                    Agreement, you may not access or use the Site or
                    purchase Kin Tokens.
                    Definitions


FOIA Confidential Treatment Requested                                                   KIK000080
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                     9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life         Page 3 of 19
                Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 4 of 20


                    For purposes of this Agreement, “Kin Tokens” refers to a
                    general purpose cryptocurrency, implemented on the
                    public Ethereum blockchain (the “Ethereum Platform”) as
                    an ERC20 token, and intended for use in everyday digital
                    services. Kin Tokens are intended to be used for all
                    transactions within a Kin ecosystem comprised of digital
                    services that participate in the right and opportunity to
                    innovate and compete for compensation in the form of
                    Kin Tokens (the “Kin Ecosystem”). The Kin Ecosystem
                    Foundation, a to-be formed not for profit corporation, will
                    act as the governance body for the Kin Ecosystem.
                    Anti-Money Laundering Regulations
                    If, at any time, Kik determines that it must or should
                    comply with applicable law, regulations or guidance for
                    money services businesses operating in the United States
                    or Canada, Kik may be required to file details of account
                    activity to the Financial Crimes Enforcement Network
                    (“FinCEN”) from time to time. We may also be required to
                    provide information as required by law to other state or
                    federal agencies in the United States and Canada and
                    other jurisdictions including but not limited to reporting
                    suspicious transactions of $2,000 or more to FinCEN, and
                    maintaining records regarding transactions of $3,000 or
                    more (the “Recordkeeping Requirements”).
                    Since we do not accept transactions, we maintain a KYC
                    policy to comply with the Recordkeeping Requirements.
                    Kik aims to reasonably identify each prospective
                    purchaser of Kin Tokens by cross-checking user data
                    against governmental watch lists, including but not
                    limited to the Specifically Designated Nationals and
                    Blocked Persons List maintained by OFAC, as well as
                    third-party identity verification and authentication
                    services. If your proposed purchase is flagged through
                    our internal controls, we may require additional proof of
                    identification from you, and we have the right to not
                    permit any purchases until additional and verifiable proof
                    of identity to our satisfaction is received and you have
                    been approved as a prospective purchaser.
                    By agreeing to this Agreement, you acknowledge and
                    agree that that we maintain verification levels that require
                    user participation and verification to obtain, with leveled
                    permissions based on user-supplied information, our
                    ability to verify it, and our internal policies. You accept
                    that you may not be able to achieve your desired level of
                    verification, and we reserve the right in our sole
                    discretion, to determine the appropriate verification level
                    for any user, as well as the right to downgrade users
                    without notice. We may, from time to time, implement

FOIA Confidential Treatment Requested                                                  KIK000081
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                    9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life         Page 4 of 19
                Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 5 of 20


                    policies restricting verification levels by nationality,
                    country of residence, or any other factor. This may affect
                    your right to purchase Kin Tokens or withdraw Kin Tokens
                    in your Account, and you indemnify Kik against any losses
                    associated with an inability to purchase or withdraw Kin
                    Tokens based on your verification level.
                    Privacy Policy; User Participation Guide;
                    Please refer to our Privacy Policy for information about
                    how we collect, use and share information about you.
                    Please refer to our User Participation Guide for more
                    information about how Kin Tokens will be used within the
                    Kin Ecosystem.
                    Registration, Account and Communication
                    Preferences
                    To purchase Kin Tokens, you will need to register for a Kin
                    Account on the Site (“Account”). By creating an Account,
                    you agree to (a) provide accurate, current and complete
                    Account information about yourself, (b) maintain and
                    promptly update from time to time as necessary your
                    Account information, (c) maintain the security of your
                    password and accept all risks of unauthorized access to
                    your Account and the information you provide to us, and
                    (d) immediately notify us if you discover or otherwise
                    suspect any security breaches related to the Site, the Kin
                    Tokens, or your Account. Kik will block multiple accounts
                    of the same user.
                    You acknowledge and agree that to ensure the safety of
                    the users’ accounts, to counteract money laundering and
                    to enforce is internal security policy Kik by default shall
                    use internal controls and programs for such control to be
                    maintained. Kik, through these programs and controls,
                    shall collect and store information about the users and
                    their transactions, including personal information about
                    you, provided to us upon registration of your Account or
                    requested by us upon transactions effected, as well as
                    indirect information, including IP-addresses, information
                    about the operating system used, software configuration
                    and other information collected with the use of “cookies”
                    technology to create statistical reports.
                    Kik may require identification information depending in
                    case of any suspicious activity that may be indicative of
                    illegal activity. Identification of bank accounts may also
                    be required. You accept and agree that in cases where Kik
                    has valid reasons to believe that your Account is used for
                    money laundering or for any other illegal activity, or that
                    you have concealed or reported false identification
FOIA Confidential Treatment Requested                                                 KIK000082
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                   9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life         Page 5 of 19
                Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 6 of 20


                    information and other details, and also if there is a valid
                    reason to believe that the transactions effected via your
                    Account were effected in breach of this Agreement, Kik
                    shall be entitled to require you to provide any additional
                    information and documents to clarify the circumstances.
                    Transactions may be frozen until the documents are
                    reviewed by us and accepted as satisfying the
                    requirements of the legislation for counteracting
                    laundering of incomes from criminal activities and
                    financing or terrorism.
                    Kik can request from you any additional identifying
                    information and support documents at any time at the
                    request of any competent authority or in case of
                    application of any applicable law or regulation, including
                    laws related to anti-laundering (legalization) of incomes
                    obtained by criminal means, or for counteracting
                    financing of terrorism. In this case, if you do provide
                    incomplete or false information and documents, Kik shall
                    be free to unilaterally refuse to provide its services to you.
                    By creating an Account, you also consent to receive
                    electronic communications from us (e.g., via email or by
                    posting notices to the Site). These communications may
                    include notices about your Account (e.g., password
                    changes and other transactional information) and are part
                    of your relationship with us. You agree that any notices,
                    agreements, disclosures or other communications that
                    we send to you electronically will satisfy any legal
                    communication requirements, including, but not limited
                    to, that such communications be in writing. You should
                    maintain copies of electronic communications from us by
                    printing a paper copy or saving an electronic copy. Kik
                    may also send you promotional communications via
                    email, including, but not limited to, newsletters, special
                    offers, surveys and other news and information we think
                    will be of interest to you. You may opt out of receiving
                    these promotional emails at any time by following the
                    unsubscribe instructions provided therein.
                    License to Access and Use Our Site and Content
                    Unless otherwise indicated in writing by us, the Site and
                    all content and other materials contained therein,
                    including, without limitation, the Kin logo and all designs,
                    text, graphics, pictures, information, data, software, sound
                    files, other files and the selection and arrangement
                    thereof (collectively, “Content”) are the proprietary
                    property of Kik or our affiliates, licensors or users, as
                    applicable, and are protected by Canadian, U.S. and
                    international copyright laws.


FOIA Confidential Treatment Requested                                                    KIK000083
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                      9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life         Page 6 of 19
                Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 7 of 20


                    You are hereby granted a limited, nonexclusive,
                    nontransferable, nonsublicensable license to access and
                    use the Site and Content. However, such license is
                    subject to this Agreement and does not include any right
                    to (a) sell, resell or use commercially the Site or Content,
                    (b) distribute, publicly perform or publicly display any
                    Content, (c) modify or otherwise make any derivative uses
                    of the Site or Content, or any portion thereof, (d) use any
                    data mining, robots or similar data gathering or extraction
                    methods, (e) download (other than page caching) any
                    portion of the Site or Content, except as expressly
                    permitted by us, and (f) use the Site or Content other than
                    for their intended purposes. Any use of the Site or
                    Content other than as specifically authorized herein,
                    without our prior written permission, is strictly prohibited
                    and will terminate the license granted herein. Such
                    unauthorized use may also violate applicable laws,
                    including, without limitation, copyright and trademark
                    laws and applicable communications regulations and
                    statutes. Unless explicitly stated by us, nothing in this
                    Agreement shall be construed as conferring any right or
                    license to any patent, trademark, copyright or other
                    proprietary rights of Kik or any third party, whether by
                    estoppel, implication or otherwise. This license is
                    revocable at any time.
                    Notwithstanding anything to the contrary in this
                    Agreement, the Site and Content may include software
                    components provided by Kik or its affiliates or a third
                    party that are subject to separate license terms, in which
                    case those license terms will govern such software
                    components.
                    Trademarks
                    The Kin logo and any Kik product or service names, logos
                    or slogans that may appear on the Site are trademarks of
                    Kik or our affiliates and may not be copied, imitated or
                    used, in whole or in part, without our prior written
                    permission. You may not use any metatags or other
                    “hidden text” utilizing “Kin” or any other name, trademark
                    or product or service name of Kik or our affiliates without
                    our prior written permission. In addition, the look and feel
                    of the Site, including, without limitation, all page headers,
                    custom graphics, button icons and scripts, constitute the
                    service mark, trademark or trade dress of Kik and may not
                    be copied, imitated or used, in whole or in part, without
                    our prior written permission. All other trademarks,
                    registered trademarks, product names and company
                    names or logos mentioned on the Site are the property of
                    their respective owners and may not be copied, imitated
                    or used, in whole or in part, without the permission of the

FOIA Confidential Treatment Requested                                                   KIK000084
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                     9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life         Page 7 of 19
                Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 8 of 20


                    applicable trademark holder. Reference to any products,
                    services, processes or other information by name,
                    trademark, manufacturer, supplier or otherwise does not
                    constitute or imply endorsement, sponsorship or
                    recommendation by Kik.
                    Hyperlinks
                    You are granted a limited, nonexclusive, nontransferable
                    right to create a text hyperlink to the Site for
                    noncommercial purposes, provided that such link does
                    not portray Kik or our affiliates or any of our products or
                    services in a false, misleading, derogatory or otherwise
                    defamatory manner, and provided further that the linking
                    site does not contain any adult or illegal material or any
                    material that is offensive, harassing or otherwise
                    objectionable. This limited right may be revoked at any
                    time. You may not use a Kin logo or other proprietary
                    graphic of Kik to link to the Site or Content without our
                    express written permission. Further, you may not use,
                    frame or utilize framing techniques to enclose any Kik
                    trademark, logo or other proprietary information, including
                    the images found on the Site, the content of any text or
                    the layout or design of any page, or form contained on a
                    page, on the Site without our express written consent. Kik
                    makes no claim or representation regarding, and accepts
                    no responsibility for, the quality, content, nature or
                    reliability of third party websites accessible by hyperlink
                    from the Site or of websites linking to the Site (“Third
                    Party Sites and/or Services”). Such Third Party Sites
                    and/or Services are not under our control, and we are not
                    responsible for the contents of any Third Party Sites
                    and/or Services, any link contained in Third Party Sites
                    and/or Services, or any review, changes or updates to
                    such Third Party Sites and/or Services. We provide these
                    links to you only as a convenience, and the inclusion of
                    any link does not imply our affiliation, endorsement or
                    adoption of any site or any information contained therein.
                    When you leave our Site, you should be aware that our
                    terms and policies no longer govern. You should review
                    the applicable terms and policies, including privacy and
                    data gathering practices, of any Third Party Sites and/or
                    Services to which you navigate from our Site.
                    Third Party Content
                    We may display content from third parties through the
                    Site and Content (collectively, “Third Party Content”). We
                    do not control, endorse or adopt any Third Party Content,
                    and we make no representations or warranties of any kind
                    regarding such Third Party Content, including, without
                    limitation, regarding its accuracy or completeness. You
                    acknowledge and agree that your interactions with third
FOIA Confidential Treatment Requested                                                 KIK000085
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                   9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life         Page 8 of 19
                Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 9 of 20


                    parties providing Third Party Content are solely between
                    you and such third parties, and that Kik is not responsible
                    or liable in any manner for such interactions or Third
                    Party Content.
                    User Conduct
                    You agree that you will not violate any law, contract,
                    intellectual property or other third party right or commit a
                    tort, and that you are solely responsible for your conduct,
                    while accessing or using the Site or using Kin Tokens.
                    You agree that you will abide by this Agreement and will
                    not:
                    - Provide false or misleading information to Kik;
                    - Use or attempt to use another user’s account without
                    authorization from such user and Kik;
                    - Use the Site or Kin Tokens in any manner that could
                    interfere with, disrupt, negatively affect or inhibit other
                    users from fully enjoying the Site or Kin Tokens, or that
                    could damage, disable, overburden or impair the
                    functioning of the Site or Kin Tokens in any manner;
                    - Develop, utilize, or disseminate any software, or interact
                    with our API in any manner, that could damage, harm, or
                    impair the Site or Kin Tokens;
                    - Reverse engineer any aspect of the Site, or do anything
                    that might discover source code or bypass or circumvent
                    measures employed to prevent or limit access to any
                    Content, area or code of the Site;
                    - Attempt to circumvent any content-filtering techniques
                    we employ, or attempt to access any feature or area of
                    the Site or Kin Tokens that you are not authorized to
                    access;
                    - Use any robot, spider, crawler, scraper, script, browser
                    extension, offline reader or other automated means or
                    interface not authorized by us to access the Site and Kin
                    Tokens, extract data or otherwise interfere with or modify
                    the rendering of Site pages or functionality;
                    - Use data collected from our Site and Kin Tokens to
                    contact individuals, companies, or other persons or
                    entities;
                    - Use data collected from our Site and Kin Tokens for any
                    direct marketing activity (including without limitation,
                    email marketing, SMS marketing, telemarketing, and
                    direct marketing);

FOIA Confidential Treatment Requested                                                  KIK000086
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                    9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life         Page 9 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 10 of 20


                    - Bypass or ignore instructions that control all automated
                    access to the Site or Kin Tokens; or
                    - Use the Site or Kin Tokens for any illegal or unauthorized
                    purpose, or engage in, encourage or promote any activity
                    that violates this Agreement.
                    - Use the Ethereum Platform to carry out any illegal
                    activities, including but not limited to money laundering,
                    terrorist financing or deliberately engaging in activities
                    designed to adversely affect the performance of the
                    Ethereum Platform, the Kin Tokens or the Kin Ecosystem.
                    You represent and warrant that (a) you are the rightful
                    owner and entitled to use all Kin Tokens purchased by
                    you; (b) your purchase of Kin Tokens does not violate the
                    rights of any third party or applicable law; and (c) the
                    currency used to buy Kin Tokens corresponds to your
                    actual assets and arrives from legal sources.
                    Feedback
                    You can submit questions, comments, suggestions, ideas,
                    original or creative materials or other information about
                    Kik, the Site or the Kin Tokens (collectively, “Feedback”).
                    You agree that submission of Feedback is at your own
                    risk and that Kik has no obligations (including without
                    limitation obligations of confidentiality) with respect to
                    such Feedback. You represent and warrant that you have
                    all rights necessary to submit the Feedback. You hereby
                    grant Kik a fully paid, royalty-free, perpetual, irrevocable,
                    worldwide, non-exclusive, and fully sublicensable right
                    and license to use, reproduce, perform, display, distribute,
                    adapt, modify, reformat, create derivative works of, and
                    otherwise commercially or non-commercially exploit in
                    any manner, any and all Feedback, and to sublicense the
                    foregoing rights in connection with the operation and
                    maintenance of the Site and Kin Tokens.
                    Indemnification
                    To the fullest extent permitted by applicable law, you
                    agree to indemnify, defend and hold harmless Kik, and
                    our respective past, present and future employees,
                    officers, directors, contractors, consultants, equity
                    holders, suppliers, vendors, service providers, parent
                    companies, subsidiaries, affiliates, agents,
                    representatives, predecessors, successors and assigns
                    (individually and collectively, the “Kik Parties ”), from and
                    against all actual or alleged Kik Party or third party claims,
                    damages, awards, judgments, losses, liabilities,
                    obligations, penalties, interest, fees, expenses (including,
                    without limitation, attorneys’ fees and expenses) and
FOIA Confidential Treatment Requested                                                    KIK000087
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                      9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 10 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 11 of 20


                    costs (including, without limitation, court costs, costs of
                    settlement and costs of pursuing indemnification and
                    insurance), of every kind and nature whatsoever, whether
                    known or unknown, foreseen or unforeseen, matured or
                    unmatured, or suspected or unsuspected, in law or equity,
                    whether in tort, contract or otherwise (collectively,
                    “Claims”), including, but not limited to, damages to
                    property or personal injury, that are caused by, arise out
                    of or are related to (a) your use or misuse of the Site,
                    Content or Kin Tokens, (b) any Feedback you provide, (c)
                    your violation of this Agreement, and (d) your violation of
                    the rights of another. You agree to promptly notify Kik of
                    any third party Claims and cooperate with the Kik Parties
                    in defending such Claims. You further agree that the Kik
                    Parties shall have control of the defense or settlement of
                    any third party Claims. This indemnity is in addition to,
                    and not in lieu of, any other indemnities set forth in a
                    written agreement between you and Kik.
                    Disclaimers
                    EXCEPT AS EXPRESSLY PROVIDED TO THE CONTRARY
                    IN A WRITING BY KIK, THE SITE CONTENT CONTAINED
                    THEREIN, AND KIN TOKENS ARE PROVIDED ON AN “AS
                    IS” AND “AS AVAILABLE” BASIS WITHOUT WARRANTIES
                    OR CONDITIONS OF ANY KIND, EITHER EXPRESS OR
                    IMPLIED. KIK DISCLAIMS ALL OTHER WARRANTIES OR
                    CONDITIONS, EXPRESS OR IMPLIED, INCLUDING,
                    WITHOUT LIMITATION, IMPLIED WARRANTIES OR
                    CONDITIONS OF MERCHANTABILITY, FITNESS FOR A
                    PARTICULAR PURPOSE, TITLE AND NON-INFRINGEMENT
                    AS TO THE SITE, CONTENT CONTAINED THEREIN AND
                    KIN TOKENS. KIK DOES NOT REPRESENT OR WARRANT
                    THAT CONTENT ON THE SITE IS ACCURATE, COMPLETE,
                    RELIABLE, CURRENT OR ERROR-FREE. KIK WILL NOT BE
                    LIABLE FOR ANY LOSS OF ANY KIND FROM ANY ACTION
                    TAKEN OR TAKEN IN RELIANCE ON MATERIAL OR
                    INFORMATION, CONTAINED ON THE SITE. WHILE KIK
                    ATTEMPTS TO MAKE YOUR ACCESS TO AND USE OF
                    THE SITE, CONTENT AND KIN TOKENS SAFE, KIK
                    CANNOT AND DOES NOT REPRESENT OR WARRANT
                    THAT THE SITE, CONTENT, KIN TOKENS OR OUR
                    SERVERS ARE FREE OF VIRUSES OR OTHER HARMFUL
                    COMPONENTS; THEREFORE, YOU SHOULD USE
                    INDUSTRY-RECOGNIZED SOFTWARE TO DETECT AND
                    DISINFECT VIRUSES FROM ANY DOWNLOAD. KIK
                    CANNOT GUARANTEE THE SECURITY OF ANY DATA
                    THAT YOU DISCLOSE ONLINE. YOU ACCEPT THE
                    INHERENT SECURITY RISKS OF PROVIDING
                    INFORMATION AND DEALING ONLINE OVER THE
                    INTERNET AND WILL NOT HOLD US RESPONSIBLE FOR

FOIA Confidential Treatment Requested                                                 KIK000088
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                   9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 11 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 12 of 20


                    ANY BREACH OF SECURITY UNLESS IT IS DUE TO OUR
                    GROSS NEGLIGENCE.
                    KIK WILL NOT BE RESPONSIBLE OR LIABLE TO YOU FOR
                    ANY LOSS AND TAKE NO RESPONSIBILITY FOR AND
                    WILL NOT BE LIABLE TO YOU FOR ANY USE OF KIN
                    TOKENS, INCLUDING BUT NOT LIMITED TO ANY LOSSES,
                    DAMAGES OR CLAIMS ARISING FROM: (A) USER ERROR
                    SUCH AS FORGOTTEN PASSWORDS, INCORRECTLY
                    CONSTRUCTED TRANSACTIONS, OR MISTYPED
                    ADDRESSES; (B) SERVER FAILURE OR DATA LOSS; (C)
                    CORRUPTED WALLET FILES; (D) UNAUTHORIZED
                    ACCESS TO APPLICATIONS; (E) ANY UNAUTHORIZED
                    THIRD PARTY ACTIVITIES, INCLUDING WITHOUT
                    LIMITATION THE USE OF VIRUSES, PHISHING,
                    BRUTEFORCING OR OTHER MEANS OF ATTACK
                    AGAINST THE SITE OR KIN TOKENS. NOTHING IN THIS
                    AGREEMENT EXCLUDES OR LIMITS LIABILITY FOR
                    DEATH OR PERSONAL INJURY CAUSED BY NEGLIGENCE,
                    FRAUDULENT MISREPRESENTATION OR ANY OTHER
                    LIABILITY WHICH MAY NOT OTHERWISE BE LIMITED OR
                    EXCLUDED UNDER APPLICABLE LAW.
                    KIN IS AN INTANGIBLE DIGITAL ASSET. KIN TOKENS
                    EXIST ONLY BY VIRTUE OF THE OWNERSHIP RECORD
                    MAINTAINED IN THE ETHEREUM NETWORK. ANY
                    TRANSFER OF TITLE THAT MIGHT OCCUR IN ANY KIN
                    TOKENS OCCURS ON THE DECENTRALIZED LEDGER
                    WITHIN THE ETHEREUM PLATFORM. KIK DOES NOT
                    GUARANTEE THAT KIK OR ANY KIK PARTY CAN EFFECT
                    THE TRANSFER OF TITLE OR RIGHT IN ANY KIN TOKENS.
                    Kik is not responsible for sustained casualties due to
                    vulnerability or any kind of failure, abnormal behavior of
                    software (note, wallet, contract), blockchains or any other
                    features of the Kin Tokens. Kik is not responsible for
                    casualties due to late report by developers or
                    representatives (or no report at all) of any issues with Kin
                    Tokens including forks, technical node issues or any
                    other issues having fund losses as a result.
                    Nothing in this Agreement shall exclude or limit liability of
                    either party for fraud, death or bodily injury caused by
                    negligence, violation of laws, or any other activity that
                    cannot be limited or excluded by legitimate means.
                    SOME JURISDICTIONS MAY NOT ALLOW THE
                    DISCLAIMER OF IMPLIED TERMS IN CONTRACTS WITH
                    CONSUMERS, SO SOME OR ALL OF THE DISCLAIMERS IN
                    THIS SECTION MAY NOT APPLY TO YOU.
                    KIK MAKES NO WARRANTIES OR CONDITIONS, EXPRESS
                    OR IMPLIED, WITH RESPECT TO THIRD PARTY CONTENT
FOIA Confidential Treatment Requested                                                   KIK000089
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                     9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 12 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 13 of 20


                    OR THIRD PARTY SITES AND/OR SERVICES, AND
                    EXPRESSLY DISCLAIMS ANY WARRANTY OR CONDITION
                    OF MERCHANTABILITY, NON-INFRINGEMENT, OR
                    FITNESS FOR A PARTICULAR PURPOSE. IN NO EVENT
                    WILL KIK BE LIABLE FOR ANY INCIDENTAL,
                    CONSEQUENTIAL, OR COVER DAMAGES ARISING OUT
                    OF YOUR USE OF OR INABILITY TO USE THIRD PARTY
                    CONTENT OR THIRD PARTY SITES AND/OR SERVICES
                    OR ANY AMOUNT IN EXCESS OF THE AMOUNT PAID BY
                    YOU FOR THE THIRD PARTY CONTENT OR THIRD PARTY
                    SITES AND/OR SERVICES THAT GIVE RISE TO ANY
                    CLAIM.
                    We reserve the right to change any and all Content and to
                    modify, suspend or stop providing access to the Site or
                    Content (or any features or functionality of the Site) at
                    any time without notice and without obligation or liability
                    to you.
                    Reference to any products, services, processes or other
                    information by trade name, trademark, manufacturer,
                    supplier, vendor or otherwise does not constitute or imply
                    endorsement, sponsorship or recommendation thereof, or
                    any affiliation therewith, by us.
                    Assumption of Risk
                    You accept and acknowledge
                    - Purchasers of Kin Tokens should expect prices to have
                    large range fluctuations. The information published on
                    the Site cannot guarantee that participants will not lose
                    money.
                    - You are solely responsible for determining what, if any,
                    taxes apply to your Kin Token transactions. Neither Kik
                    nor any other Kik Party is responsible for determining the
                    taxes that apply to Kin Token transactions.
                    - Our Site does not store, send, or receive Kin Tokens.
                    This is because the Kin Tokens exist only by virtue of the
                    ownership record maintained in the Ethereum Platform.
                    Any transfer of Kin Tokens occurs within the Ethereum
                    Platform and not on this Site.
                    - There are risks associated with using an Internet based
                    currency, including but not limited to, the risk of hardware,
                    software and Internet connections, the risk of malicious
                    software introduction, and the risk that third parties may
                    obtain unauthorized access to information stored within
                    your wallet. You accept and acknowledge that Kik will not
                    be responsible for any communication failures,

FOIA Confidential Treatment Requested                                                   KIK000090
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                     9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 13 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 14 of 20


                    disruptions, errors, distortions or delays you may
                    experience when using the Kin Tokens, however caused.
                    - A lack of use or public interest in the creation and
                    development of distributed ecosystems could negatively
                    impact the development of the Kin Ecosystem and
                    therefore the potential utility of Kin Tokens.
                    - As a result of the open source structure of the Kin
                    Ecosystem protocol, the Kin Ecosystem may be
                    susceptible to developments by users or contributors that
                    could damage the Kin Ecosystem and affect the use of
                    the Kin Ecosystem and Kin Tokens.
                    - The Kin Ecosystem will rely on third-party platforms
                    such as the Apple App Store and the Google Play Store to
                    distribute the applications through which users will
                    access the Kin Ecosystem. If the Kin Ecosystem is unable
                    to maintain a good relationship with such platform
                    providers; if the terms and conditions or pricing of such
                    platform providers change; if the Kin Ecosystem providers
                    violate or cannot comply with the terms and conditions of
                    such platforms; or if any of such platforms loses market
                    share or falls out of favor or is unavailable for a prolonged
                    period of time, access to and use of the Kin Ecosystem
                    and Kin Tokens will suffer.
                    - Upgrades by Ethereum to the Ethereum Platform, a hard
                    fork in the Ethereum Platform, or a change in how
                    transactions are confirmed on the Ethereum Platform
                    may have unintended, adverse effects on all blockchains
                    using the ERC-20 standard, including the Kin Ecosystem.
                    - The regulatory regime governing blockchain
                    technologies, cryptocurrencies, and tokens is uncertain,
                    and new regulations or policies may materially adversely
                    affect the development of the Kin Ecosystem and the
                    utility of Kin Tokens.
                    - The prices of blockchain assets are extremely volatile.
                    Fluctuations in the price of Ether or other digital assets
                    could materially and adversely affect the Kin Tokens,
                    which may also be subject to significant price volatility.
                    Limitation of Liability; Release
                    TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
                    LAW, IN NO EVENT SHALL KIK OR ANY OF THE OTHER
                    KIK PARTIES BE LIABLE FOR ANY INDIRECT, SPECIAL,
                    INCIDENTAL, CONSEQUENTIAL, EXEMPLARY OR
                    PUNITIVE DAMAGES OF ANY KIND OR FOR LOSS OF
                    REVENUE, INCOME OR PROFITS, LOSS OF USE OR DATA,
                    LOSS OR DIMINUTION IN VALUE OF ASSETS OR
FOIA Confidential Treatment Requested                                                   KIK000091
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                     9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 14 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 15 of 20


                    SECURITIES, OR DAMAGES FOR BUSINESS
                    INTERRUPTION ARISING OUT OF OR IN ANY WAY
                    RELATED TO THE ACCESS OR USE OF THE SITES,
                    CONTENT OR KIN TOKENS OR OTHERWISE RELATED TO
                    THIS AGREEMENT (INCLUDING, BUT NOT LIMITED TO,
                    ANY DAMAGES CAUSED BY OR RESULTING FROM
                    RELIANCE BY ANY USER ON ANY INFORMATION
                    OBTAINED FROM KIN DIGITAL, OR FROM MISTAKES,
                    OMISSIONS, INTERRUPTIONS, DELETIONS OF FILES OR
                    EMAILS, ERRORS, DEFECTS, BUGS, VIRUSES, TROJAN
                    HORSES, DELAYS IN OPERATION OR TRANSMISSION OR
                    ANY FAILURE OF PERFORMANCE, WHETHER OR NOT
                    RESULTING FROM ACTS OF GOD, COMMUNICATIONS
                    FAILURE, THEFT, DESTRUCTION OR UNAUTHORIZED
                    ACCESS TO KIK’S RECORDS, PROGRAMS OR SYSTEMS),
                    REGARDLESS OF THE FORM OF ACTION, WHETHER
                    BASED IN CONTRACT, TORT (INCLUDING, BUT NOT
                    LIMITED TO, SIMPLE NEGLIGENCE, WHETHER ACTIVE,
                    PASSIVE OR IMPUTED), OR ANY OTHER LEGAL OR
                    EQUITABLE THEORY (EVEN IF THE PARTY HAS BEEN
                    ADVISED OF THE POSSIBILITY OF SUCH DAMAGES AND
                    REGARDLESS OF WHETHER SUCH DAMAGES WERE
                    FORESEEABLE).
                    TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
                    LAW, IN NO EVENT SHALL THE MAXIMUM AGGREGATE
                    LIABILITY OF US ARISING OUT OF OR IN ANY WAY
                    RELATED TO THIS AGREEMENT, THE ACCESS TO AND
                    USE OF THE SITE CONTENT, KIN TOKENS, OR ANY
                    PRODUCTS OR SERVICES PURCHASED FROM US
                    EXCEED THE GREATER OF $100 AND THE AMOUNT
                    RECEIVED BY US FROM THE SALE OF KIN TOKENS THAT
                    ARE THE SUBJECT OF THE CLAIM.
                    Some jurisdictions do not allow the exclusion or limitation
                    of incidental or consequential damages, so the above
                    limitation or exclusion may not apply to you. Some
                    jurisdictions also limit disclaimers or limitations of
                    liability for personal injury from consumer products, so
                    this limitation may not apply to personal injury claims.
                    Modifications to the Site and Kin Tokens
                    We reserve the right in our sole discretion to modify,
                    suspend or discontinue, temporarily or permanently, the
                    Sites (or any features or parts thereof) or suspend or
                    discontinue issuance of Kin Tokens at any time and
                    without liability therefor.
                    Dispute Resolution; Arbitration. Please read the
                    following arbitration agreement in this Section
                    (“Arbitration Agreement”) carefully. It requires you to

FOIA Confidential Treatment Requested                                                 KIK000092
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                   9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 15 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 16 of 20


                    arbitrate disputes with Kik and limits the manner in
                    which you can seek relief from us.
                    16.1 Applicability of Arbitration Agreement. You agree
                    that any dispute or claim relating in any way to your
                    access or use of the Site or Content, to the Kin Tokens, or
                    to any aspect of your relationship with Company, will be
                    resolved by binding arbitration, rather than in court,
                    except that (1) you may assert claims in small claims
                    court if your claims qualify, so long as the matter remains
                    in such court and advances only on an individual (non-
                    class, non-representative) basis; and (2) you or Kik may
                    seek equitable relief in court for infringement or other
                    misuse of intellectual property rights (such as
                    trademarks, trade dress, domain names, trade secrets,
                    copyrights, and patents).
                    IF YOU AGREE TO ARBITRATION WITH KIK, YOU ARE
                    AGREEING IN ADVANCE THAT YOU WILL NOT
                    PARTICIPATE IN OR SEEK TO RECOVER MONETARY OR
                    OTHER RELIEF IN ANY LAWSUIT FILED AGAINST US
                    ALLEGING CLASS, COLLECTIVE, AND/OR
                    REPRESENTATIVE CLAIMS ON YOUR BEHALF. INSTEAD,
                    BY AGREEING TO ARBITRATION, YOU MAY BRING YOUR
                    CLAIMS AGAINST US IN AN INDIVIDUAL ARBITRATION
                    PROCEEDING. IF SUCCESSFUL ON SUCH CLAIMS, YOU
                    COULD BE AWARDED MONEY OR OTHER RELIEF BY AN
                    ARBITRATOR. YOU ACKNOWLEDGE THAT YOU HAVE
                    BEEN ADVISED THAT YOU MAY CONSULT WITH AN
                    ATTORNEY IN DECIDING WHETHER TO ACCEPT THIS
                    AGREEMENT, INCLUDING THIS ARBITRATION
                    AGREEMENT.
                    16.2 Arbitration Rules and Forum. The Federal Arbitration
                    Act governs the interpretation and enforcement of this
                    Arbitration Agreement. To begin an arbitration
                    proceeding, you must send a letter requesting arbitration
                    and describing your claim to our registered agent, Peter
                    Heinke, Kik Interactive Inc., 420 Weber St. N., Waterloo,
                    ON. The arbitration will be conducted by JAMS, an
                    established alternative dispute resolution provider.
                    Disputes involving claims and counterclaims under
                    $250,000, not inclusive of attorneys’ fees and interest,
                    shall be subject to JAMS’s most current version of the
                    Streamlined Arbitration Rules and procedures available at
                    http://www.jamsadr.com/rules-streamlined-arbitration/;
                    all other claims shall be subject to JAMS’s most current
                    version of the Comprehensive Arbitration Rules and
                    Procedures, available at http://www.jamsadr.com/rules-
                    comprehensive-arbitration/. JAMS’s rules are also
                    available at www.jamsadr.com or by calling JAMS at 800-
                    352-5267. If JAMS is not available to arbitrate, the parties

FOIA Confidential Treatment Requested                                                  KIK000093
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                    9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 16 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 17 of 20


                    will select an alternative arbitral forum. If the arbitrator
                    finds that you cannot afford to pay JAMS’s filing,
                    administrative, hearing and/or other fees and cannot
                    obtain a waiver from JAMS, Kik will pay them for you. In
                    addition, Kik will reimburse all such JAMS’s filing,
                    administrative, hearing and/or other fees for claims
                    totaling less than $10,000 unless the arbitrator
                    determines the claims are frivolous. Likewise, Kik will not
                    seek attorneys’ fees and costs in arbitration unless the
                    arbitrator determines the claims are frivolous.
                    You may choose to have the arbitration conducted by
                    telephone, based on written submissions, or in person in
                    the country where you live or at another mutually agreed
                    location. Any judgment on the award rendered by the
                    arbitrator may be entered in any court of competent
                    jurisdiction.
                    16.3 Authority of Arbitrator. The arbitrator, and not any
                    federal, state or local court or agency shall have exclusive
                    authority (a) determine the scope and enforceability of
                    this arbitration agreement and (b) to resolve any dispute
                    related to the interpretation, applicability, enforceability or
                    formation of this Arbitration Agreement including, but not
                    limited to any claim that all or any part of this Arbitration
                    Agreement is void or voidable. The arbitration will decide
                    the rights and liabilities, if any, of you and Kik. The
                    arbitration proceeding will not be consolidated with any
                    other matters or joined with any other cases or parties.
                    The arbitrator shall have the authority to grant motions
                    dispositive of all or part of any claim. The arbitrator shall
                    have the authority to award monetary damages and to
                    grant any non-monetary remedy or relief available to an
                    individual under applicable law, the arbitral forum’s rules,
                    and the Agreement (including the Arbitration Agreement).
                    The arbitrator shall issue a written award and statement
                    of decision describing the essential findings and
                    conclusions on which the award is based, including the
                    calculation of any damages awarded. The arbitrator has
                    the same authority to award relief on an individual basis
                    that a judge in a court of law would have. The award of
                    the arbitrator is final and binding upon you and us.
                    16.4 Waiver of Jury Trial. YOU AND KIK HEREBY WAIVE
                    ANY CONSTITUTIONAL AND STATUTORY RIGHTS TO
                    SUE IN COURT AND HAVE A TRIAL IN FRONT OF A
                    JUDGE OR A JURY. You and Kik are instead electing that
                    all claims and disputes shall be resolved by arbitration
                    under this Arbitration Agreement, except as specified in
                    Section 16.1 above. An arbitrator can award on an
                    individual basis the same damages and relief as a court
                    and must follow this Agreement as a court would.
FOIA Confidential Treatment Requested                                                     KIK000094
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                       9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 17 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 18 of 20


                    However, there is no judge or jury in arbitration, and court
                    review of an arbitration award is subject to very limited
                    review.
                    16.5 Waiver of Class or Consolidated Actions. ALL
                    CLAIMS AND DISPUTES WITHIN THE SCOPE OF THIS
                    ARBITRATION AGREEMENT MUST BE ARBITRATED ON
                    AN INDIVIDUAL BASIS AND NOT ON A CLASS BASIS,
                    ONLY INDIVIDUAL RELIEF IS AVAILABLE, AND CLAIMS
                    OF MORE THAN ONE CUSTOMER OR USER CANNOT BE
                    ARBITRATED OR LITIGATED JOINTLY OR
                    CONSOLIDATED WITH THOSE OF ANY OTHER
                    CUSTOMER OR USER. Notwithstanding anything to the
                    contrary herein, (a) representative actions for public
                    injunctive relief may be arbitrated on a class basis, and
                    (b) in the event that the foregoing sentence is deemed
                    invalid or unenforceable with respect to a particular claim
                    or dispute for recovery of damages, neither you nor we
                    shall be entitled to arbitration of such claim or dispute
                    and instead the applicable claim or dispute shall be
                    resolved in a court as set forth in Section 17.
                    16.6 30-Day Right to Opt Out. You have the right to opt
                    out of the provisions of this Arbitration Agreement by
                    sending written notice of your decision to opt out to the
                    following address: Kik Interactive Inc., 420 Weber St. N.,
                    Waterloo, ON, or privacy@kik.com, within 30 days after
                    first becoming subject to this Arbitration. Your notice
                    must include your name and address, the email address
                    you used to set up your Account (if you have one), and an
                    unequivocal statement that you want to opt out of this
                    Arbitration Agreement. If you opt out of this Arbitration
                    Agreement, all other parts of this Agreement will continue
                    to apply to you. Opting out of this Arbitration Agreement
                    has no effect on any other arbitration agreements that
                    you may currently have, or may enter in the future, with
                    us.
                    16.7 Severability. If any part or parts of this Arbitration
                    Agreement are found under the law to be invalid or
                    unenforceable, then such specific part or parts shall be of
                    no force and effect and shall be severed and the
                    remainder of the Arbitration Agreement shall continue in
                    full force and effect.
                    16.8 Survival of Agreement. This Arbitration Agreement
                    will survive the termination of your relationship with Kik.
                    16.9 Modification. Notwithstanding any provision in this
                    Agreement to the contrary, we agree that if Kik makes any
                    future material change to this Arbitration Agreement, it


FOIA Confidential Treatment Requested                                                  KIK000095
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                    9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 18 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 19 of 20


                    will not apply to any individual claim(s) that you had
                    already provided notice of to Kik.
                    Governing Law and Venue
                    This Agreement, your access to and use of the Sites,
                    Services and Content, and your purchase and use of the
                    Kin Tokens shall be governed by and construed and
                    enforced in accordance with the laws of the state of
                    Delaware, without regard to conflict of law rules or
                    principles of the state of Delaware, or any other
                    jurisdiction) that would cause the application of the laws
                    of any other jurisdiction. Any Dispute between the parties
                    that is not subject to arbitration or cannot be heard in
                    small claims court, shall be resolved in the state or
                    federal courts of the state of Delaware, and the United
                    States, respectively, sitting in the state of Delaware.
                    Termination
                    Notwithstanding anything contained in this Agreement,
                    we reserve the right, without notice and in our sole
                    discretion, to terminate your right to access or use the
                    Site and Content, at any time and for any or no reason,
                    and you acknowledge and agree that Kik shall have no
                    liability or obligation to you in such event and that you will
                    not be entitled to a refund of any amounts that you have
                    already paid to us, to the fullest extent permitted by
                    applicable law.
                    Severability
                    If any term, clause or provision of this Agreement is held
                    invalid or unenforceable, then that term, clause or
                    provision will be severable from this Agreement and will
                    not affect the validity or enforceability of any remaining
                    part of that term, clause or provision, or any other term,
                    clause or provision of this Agreement.
                    Survival
                    The following sections will survive the expiration or
                    termination of this Agreement and the termination of your
                    Account: all defined terms and Sections 1, 8, 9, 10, 11, 12,
                    13, 14, 15, 16, 17, 18, 19, 20, and 21.
                    Miscellaneous
                    This Agreement constitutes the entire agreement
                    between you and Kik relating to your access to and use of
                    the Sites, and Content and your purchase and use of the
                    Kin Tokens. This Agreement, and any rights and licenses
                    granted hereunder, may not be transferred or assigned by
                    you without the prior written consent of Kik, and Kik’s
FOIA Confidential Treatment Requested                                                    KIK000096
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                      9/22/2017
     Kin: A decentralized ecosystem of digital services for daily life        Page 19 of 19
               Case 1:19-cv-05244-AKH Document 64-8 Filed 03/20/20 Page 20 of 20


                    failure to assert any right or provision under this
                    Agreement shall not constitute a waiver of such right or
                    provision. Except as otherwise provided herein, this
                    Agreement is intended solely for the benefit of the parties
                    and are not intended to confer third party beneficiary
                    rights upon any other person or entity.




FOIA Confidential Treatment Requested                                                 KIK000097
By Kik Interactive Inc.
     https://kin.kik.com/terms/                                                   9/22/2017
